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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION



    Christopher R. Murray,                                 §
                                                           §
           Chapter 7 Trustee,                              §
                                                           §
    v.                                                     §              Civil Action No.
                                                           §
    Eco-Shell, Inc.,                                       §
                                                           §
           Defendant.                                      §


                                      TRUSTEE’S COMPLAINT


          Christopher R. Murray, the Chapter 7 Trustee for Q’Max America Inc. (“QAI”), and

Anchor Drilling Fluids USA, LLC (“Anchor”), and for the Bankruptcy Estate of Q’Max America

Inc., and Anchor Drilling Fluids USA, LLC, files this Original Complaint against Defendant Eco-

Shell, Inc. (“Eco-Shell”).1

                                       SUMMARY OF COMPLAINT

          1.     This action seeks to avoid and recover fraudulent and preferential transfers made

by Debtor QAI to Defendant Eco-Shell between May 24, 2018, and May 24, 2020 (two (2) years

prior to the filing of the above-styled bankruptcy case). Debtor QAI made transfers of at least

$74,360.00 during that time to, and for the benefit of, Defendant Eco-Shell by way of money

transfers at times when Debtor QAI was insolvent. The transfers were paid pursuant to invoices

issued, and for products provided, to Anchor and/or Q’Max Solutions Colombia.




1
  Citations to the Q’Max America, Inc. and Anchor Drilling Fluids USA, LLC’s bankruptcy case, Case No. 20-60030
(“Bankruptcy Case”) will be “Bankr. ECF No. 1.”


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       2.      The Trustee may avoid and recover these payments as fraudulent transfers pursuant

to 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce Code.

       3.      Debtor QAI had no legal obligation to make these transfers and received no benefit

from making any of these transfers.

                 JURISDICTION, VENUE & AND CONSTITUTIONAL AUTHORITY

       4.      The Court has jurisdiction over this case pursuant to 28 U.S.C. §§ 1331, 1332,

and 1334.

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1409.

       6.      The Trustee consents to entry of a final judgment by this Court in this matter.

                                             PARTIES

       7.      Plaintiff is the duly appointed chapter 7 trustee for the Bankruptcy Estate of Debtor

QAI. Plaintiff may be served with pleadings and process in this case through its undersigned

counsel.

       8.      Defendant Eco-Shell, Inc., is a corporation organized under the laws of the State of

California and may be served through its registered agent Charles R. Crain, 10695 Decker Avenue,

Los Molinos, California 96055, or wherever it may be found.

                                      STATEMENT OF FACTS

       9.      Debtor QAI was an independent oilfield services company focused on providing

drilling fluids and solids control services to national and independent oil companies. Debtor QAI

was based in Houston, Texas.

       10.     Debtor QAI failed to make payments on debt as it became due in early 2018.

Indeed, QAI was making late payments to vendors from February 2018 onward. These late

payments became progressively later over time.




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       11.     On May 24, 2020 (“Petition Date”), Debtor QAI filed a voluntary Chapter 7 petition

for bankruptcy under title 11 of the Bankruptcy Code, commencing bankruptcy case number 2-

60030 in the United States Bankruptcy Court for the Southern District of Texas, Victoria Division.

On the same day, Debtor Anchor filed a voluntary Chapter 7 petition commencing bankruptcy case

number 20-60031 in the same court. Plaintiff was appointed as the chapter 7 trustee for both.

       12.     On May 27, 2020, the bankruptcies were ordered combined for joint administration.

       13.     Debtor QAI is wholly owned by its parent, Q’Max Solutions, Inc. (“QSI”).

       14.     QSI owns Q’Max Solutions Colombia.

       15.     Defendant Eco-Shell sold and/or delivered products to Anchor and/or Q’Max

Solutions Colombia.




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       16.    However, while Debtor QAI was struggling financially, QSI used Debtor QAI’s

accounts to pay for the products and services ordered from Defendant Eco-Shell that were

delivered to either Anchor or Q’Max Solutions Colombia. In other words, QSI used Debtor QAI’s

accounts to pay for products and services that were of no benefit to Debtor QAI, and instead

benefitted only Anchor and/or Q’Max Solutions Colombia.

       17.    The payments for these products and services were significant. In total, Debtor QAI

paid Defendant Eco-Shell at least $74,360.00 for the products delivered to, and used by, Anchor

and Q’Max Solutions Colombia.

        Payment Date                  Payment To                    Payment Amount
          8/16/2018                    Eco-Shell                       $14,125.00
          8/30/2018                    Eco-Shell                       $5,500.00
          9/20/2018                    Eco-Shell                       $8,625.00
           1/4/2019                    Eco-Shell                       $11,000.00
           7/3/2019                    Eco-Shell                       $14,300.00
          8/22/2019                    Eco-Shell                       $14,300.00


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            10/31/2019                      Eco-Shell                       $11,440.00
             12/2/2019                      Eco-Shell                        $5,720.00
             12/6/2019                      Eco-Shell                       $11,440.00
            12/19/2019                      Eco-Shell                       $17,160.00
                                                        Total:              $74,360.00


       18.      Because Defendant Eco-Shell provided products Anchor and Q’Max Solutions

Colombia, and not to Debtor QAI, all payments made by Debtor QAI to Defendant Eco-Shell were

improper, as Debtor QAI did not benefit from any such products provided by Defendant Eco-Shell.

       19.      Despite knowing it did not benefit from the products or services provided by

Defendant Eco-Shell to Anchor and Q’Max Solutions Colombia, and knowing it was not obligated

to proffer any payments to Defendant Eco-Shell because (1) it did not receive or use any of the

products delivered by Defendant Eco-Shell, and (2) no contract between Defendant Eco-Shell and

Debtor QAI existed, Debtor QAI nonetheless transferred at least $74,360.00 in payments to

Defendant Eco-Shell, which it knew would prevent this money from going to its true creditors.

                                           CAUSES OF ACTION

                                      COUNT 1
                   FRAUDULENT TRANSFERS UNDER 11 U.S.C. §§ 548 AND 550

       20.      Plaintiff realleges and incorporates all allegations of fact contained in the preceding

paragraphs as if fully set forth herein.

       21.      The Avoidable Transfers made before the Petition Date are avoidable as fraudulent

transfers under 11 U.S.C. § 548(a)(1)(A) because Debtor QAI made these transfers with actual

intent to hinder, delay, or defraud its creditors. Indeed, numerous badges of fraud exist.

       22.      First, Debtor QAI did not receive adequate consideration for the transfers. Debtor

QAI did not engage Defendant Eco-Shell. Debtor QAI did not receive any products from




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Defendant Eco-Shell. And Debtor QAI did not receive any other tangible benefit from the products

provided by Defendant Eco-Shell. Yet Debtor QAI paid the bill.

        23.    In addition, Debtor QAI’s financial condition was deteriorating before the transfers

begun. As outlined above in paragraph 10, Debtor QAI was unable to make payments on debt as

it became due as early as February 2018.

        24.    The transfers were also constructively fraudulent because Debtor QAI received less

than equivalent value. Defendant Eco-Shell provided products and services to Anchor and Q’Max

Solutions Colombia while Debtor QAI paid the bill. As a result, Debtor QAI could not have

received equivalent value for the transfer. Only Anchor and Q’Max Solutions Colombia could

have.

        25.    The Avoidable Transfers made before the Petition Date are avoidable as fraudulent

transfers under 11 U.S.C. § 548(a)(1)(B) because:

               A. Debtor QAI made these transfers and received less than a reasonably equivalent
                  value in exchange for such transfer or obligations, and in fact, received no
                  value;

               B. Debtor QAI was insolvent on the date each such transfer was made, or such
                  obligation was incurred, or became insolvent as a result of such transfer or
                  obligation; and

               C. Debtor QAI was not personally liable for the debts satisfied by the Avoidable
                  Transfers.

        26.    Under 11 U.S.C. § 550(a), the Trustee may recover the value of the Avoidable

Transfers from “the initial transferee of such transfer of the entity for whose benefit such transfer

was made.” Defendant Eco-Shell was the initial transferee of the Avoidable Transfers. In the

alternative, Defendant Eco-Shell as the entity for whose benefit such transfers were made.

Therefore, the Trustee is entitled to avoid and recover the value of the Avoidable Transfers from

Defendant Eco-Shell.



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                                             COUNT 2
                         TEXAS UNIFORM FRAUDULENT TRANSFERS ACT

       27.     Plaintiff realleges and incorporates all allegations of fact contained in the preceding

paragraphs as if fully set forth herein.

       28.     The Avoidable Transfers are avoidable as fraudulent transfers under TEX. BUS. &

COM. CODE ANN. § 24.001, et. seq. (“Texas Uniform Fraudulent Transfer Act” or “TUFTA”),

which the Trustee incorporates pursuant to 11 U.S.C. § 544(b)(1).

       29.     One or more creditors exist whose claims arose before some of the Avoidable

Transfers for whom the Trustee can act.

       30.     Debtor QAI made the Avoidable Transfers for the benefit of Anchor, Q’Max

Solutions Colombia, and/or Defendant Eco-Shell with the actual intent to hinder, delay, or defraud

one or more of its true creditors. These transfers exhibit badges of fraud. The Trustee incorporates

by reference the facts set forth in paragraphs 13-19, supra, setting forth the facts supporting a

finding that Debtor QAI had actual intent to hinder, delay, or defraud. Accordingly, the Avoidable

Transfers are fraudulent under TEX. BUS. & COM. CODE ANN. § 24.005(a)(1), and the Trustee may

avoid and recover the Avoidable Transfers from Defendant Eco-Shell.

       31.     Debtor QAI made the Avoidable Transfers to Defendant Eco-Shell without

receiving reasonably equivalent value in exchange for the Transfers. Additionally, when Debtor

QAI made the Avoidable Transfers for the benefit of Defendant Eco-Shell, it (1) was engaged or

was about to engage in a business or transaction for which the remaining assets of Debtor QAI

were unreasonably small in relation to the business or transaction, or (2) intended to incur, or

believed or reasonably should have believed that Debtor QAI would incur, debts beyond its ability

to pay as they became due. Accordingly, the Avoidable Transfers are fraudulent under TEX. BUS.




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& COM. CODE ANN. § 24.005(a)(2), and the Trustee may avoid and recover the Avoidable Transfers

from Defendant Eco-Shell.

       32.     Debtor QAI made the Avoidable Transfers to the transferees for the benefit of

Defendant Eco-Shell and CPI (1) without receiving reasonably equivalent value in exchange for

the Avoidable Transfers, and (2) Debtor QAI either was insolvent when it made the Avoidable

Transfers, or it became insolvent, partially as a result of the Avoidable Transfers. At the time of

the Avoidable Transfers, (1) Debtor QAI’s debts exceeded the fair valuation of all its assets, and

(2) Debtor QAI was generally not paying its debts as they became due. Accordingly, the Avoidable

Transfers are fraudulent under TEX. BUS. & COM. CODE ANN. § 24.006(a), and the Trustee may

avoid and recover the Avoidable Transfers.

       33.     Because the Avoidable Transfers were fraudulent under TEX. BUS. & COM. CODE

ANN. §§ 24.005(a)(1) and (2) and 24.006(a), the Trustee may avoid the Avoidable Transfers to

Defendant Eco-Shell under TEX. BUS. & COM. CODE ANN. § 24.008. Pursuant to 11 U.S.C. § 550(a)

and TEX. BUS. & COM. CODE ANN. § 24.008, the Trustee may recover from Defendant Eco-Shell

the value of the Avoidable Transfers.

                                     CONSTRUCTIVE TRUST

       34.     Once an entity becomes insolvent and can no longer continue normal business

operations, its assets become a trust fund for the benefit of all creditors. Tigrett v. Pointer, 580

S.W.2d 375, 383 (Tex. Civ. App.—Dallas 1979, writ ref’d n.r.e.). Any assets that are transferred

to or for the benefit of an officer, director, or owner are held in a constructive trust. Southwest

Livestock & Trading Co. v. Dooley, 884 S.W.2d 443,444 (Tex. App.—San Antonio 1994, writ

denied); Donovan v. Rankin, 768 S.W.2d 443, 444 (Tex. App.—Houston [1st Dist.] 1989, writ

denied). The Trustee requests that a constructive trust be imposed against all Avoidable Transfers




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made to Defendant Eco-Shell.

                        TURNOVER OF PAYMENTS UNDER 11 U.S.C. § 542

       35.      All of the Avoidable Transfers made to Defendant Eco-Shell are property of the

Bankruptcy Estate. The Avoidable Transfers are in a known amount. The Trustee seeks a judgment

requiring the turnover of all Avoidable Transfers and all proceeds derived therefrom pursuant to

11 U.S.C. § 542.

                                        ATTORNEYS’ FEES

       36.     The Trustee requests an award of his reasonable attorneys’ fees and costs pursuant

to TEX. BUS. & COM. CODE ANN. § 24.013 and all other applicable law.

                              PRE- AND POST-JUDGMENT INTEREST

       37.     The Trustee seeks pre- and post-judgment interest on his recovery at the maximum

amount allowable by law.

                                              PRAYER

       38.     Accordingly, the Trustee requests the entry of a judgment against Defendant Eco-

Shell, Inc., consistent with the above-stated causes of action, including all actual damages,

turnover, the imposition of a constructive trust, attorneys’ fees and costs, pre- and post- judgment

interest, and all such other and further relief to which the Trustee may be justly entitled.



       Dated: May 20, 2022                     Respectfully submitted

                                               MCDOWELL HETHERINGTON LLP

                                               By: /s/ Nicholas R. Lawson
                                               Nicholas R. Lawson
                                               Texas Bar No. 24083367
                                               Avi Moshenberg
                                               Texas Bar No. 24083532
                                               Matthew Caldwell



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                                    COUNSEL FOR CHRISTOPHER R. MURRAY,
                                    CHAPTER 7 TRUSTEE




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JS 44 (Rev. 04/21)                Case 22-06051 Document
                                                   CIVIL1 COVER
                                                           Filed in TXSB on 05/20/22 Page 11 of 12
                                                                     SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
          Christropher R. Murray, Chapter 7 Trustee                                                       Eco-Shell, Inc.
    (b)   County of Residence of First Listed Plaintiff            Harris                                 County of Residence of First Listed Defendant              Tehama
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
      Nick Lawson, Matthew Caldwell
      McDowell Hetherington LLP, 1001 Fannin Street, Suite
      2700, Houston, TX 77002, 713-337-5580
II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                ✖ 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
          Plaintiff                            (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

    2   U.S. Government                  4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                            (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY            625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
    120 Marine                          310 Airplane                    365 Personal Injury -           of Property 21 USC 881           423 Withdrawal              376 Qui Tam (31 USC
    130 Miller Act                      315 Airplane Product                Product Liability       690 Other                                28 USC 157                  3729(a))
    140 Negotiable Instrument                Liability                  367 Health Care/                                                   INTELLECTUAL              400 State Reapportionment
    150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                               PROPERTY RIGHTS             410 Antitrust
        & Enforcement of Judgment            Slander                        Personal Injury                                              820 Copyrights              430 Banks and Banking
    151 Medicare Act                    330 Federal Employers’              Product Liability                                            830 Patent                  450 Commerce
    152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                            835 Patent - Abbreviated    460 Deportation
         Student Loans                  340 Marine                          Injury Product                                                   New Drug Application    470 Racketeer Influenced and
         (Excludes Veterans)            345 Marine Product                  Liability                                                    840 Trademark                   Corrupt Organizations
    153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                     LABOR                       880 Defend Trade Secrets    480 Consumer Credit
        of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud             710 Fair Labor Standards                 Act of 2016                 (15 USC 1681 or 1692)
    160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending            Act                                                          485 Telephone Consumer
    190 Other Contract                      Product Liability           380 Other Personal          720 Labor/Management                  SOCIAL SECURITY                Protection Act
    195 Contract Product Liability      360 Other Personal                  Property Damage             Relations                        861 HIA (1395ff)            490 Cable/Sat TV
    196 Franchise                           Injury                      385 Property Damage         740 Railway Labor Act                862 Black Lung (923)        850 Securities/Commodities/
                                        362 Personal Injury -               Product Liability       751 Family and Medical               863 DIWC/DIWW (405(g))          Exchange
                                            Medical Malpractice                                         Leave Act                        864 SSID Title XVI        ✖ 890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS           790 Other Labor Litigation           865 RSI (405(g))            891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:              791 Employee Retirement                                          893 Environmental Matters
    220 Foreclosure                     441 Voting                      463 Alien Detainee              Income Security Act              FEDERAL TAX SUITS           895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                            870 Taxes (U.S. Plaintiff       Act
    240 Torts to Land                   443 Housing/                        Sentence                                                          or Defendant)          896 Arbitration
    245 Tort Product Liability              Accommodations              530 General                                                      871 IRS—Third Party         899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty               IMMIGRATION                           26 USC 7609                Act/Review or Appeal of
                                            Employment                  Other:                      462 Naturalization Application                                       Agency Decision
                                        446 Amer. w/Disabilities -      540 Mandamus & Other        465 Other Immigration                                            950 Constitutionality of
                                            Other                       550 Civil Rights                Actions                                                          State Statutes
                                        448 Education                   555 Prison Condition
                                                                        560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                     3      Remanded from             4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
      Proceeding             State Court                             Appellate Court             Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                             (specify)                  Transfer                         Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         11 USC 548, 550
VI. CAUSE OF ACTION                      Brief description of cause:
                                         Recovery of fraudulent transfers and preference payments
VII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                              $74,360.00                                  JURY DEMAND:                 ✖   Yes          No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE                                                              DOCKET NUMBER
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD
May 20, 2022                                                            /s/ Nicholas R. Lawson
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case 22-06051 Document 1 Filed in TXSB on 05/20/22 Page 12 of 12
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
